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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK

                                                      03 MDL 1570 (RCC)
IN RE TERRORIST ATTACKS ON SEPTEMBER 11, 2001         ECF Case



This document relates to: Thomas Burnett, Sr. v. Al
Baraka Investment & Develop. Corp., 03 CV 9849




PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO MOTIONS TO DISMISS OF
           DEFENDANT ABDULLAH BIN ABDUL MOHSEN AL-TURKI




June 30, 2004
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                                       INTRODUCTION
       Defendant Abdullah Bin Abdul Mohsen Al-Turki seeks to dismiss the Complaint for

want of personal jurisdiction and for defective service of process.1 Essentially, Al-Turki argues

that he cannot be made to answer for the murderous attacks on the United States perpetrated on

September 11, 2001, because he claims to have had insufficient contact with the United States to

satisfy the requirements of due process. This argument is wrong. Al-Turki – who in partnership

with Muhammed Galeb Kalaje Zouaydi provided financing to European al Qaeda cells,

including the Hamburg Cell that actually carried out the September 11 attacks -- aimed his

conduct at the United States when he provided material support to Osama bin Laden and al

Qaeda, with knowledge that al Qaeda was engaged in terrorist activities targeted primarily and

specifically at the United States and its citizens and residents. The deliberate targeting of the

United States satisfies the minimum contacts test, even if the defendant never entered the United

States. The principle is a simple one: no one is entitled deliberately to plot, launch, or provide

financing for attacks on the United States and evade U.S. justice merely because the attacks

could be planned, supported or financed from afar.

       Al-Turki’s challenge to service of process fares no better. The method of service used

here – service by publication – was specifically approved by the district court in Washington,

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        Al-Turki’s motion is one of a group of 11 nearly identical motions filed simultaneously
by the law firm of Bernabei & Katz on behalf of 11 of the defendants (Shahir Abdulraoof
Batterjee, Abdullah Omar Naseef, Abdullah bin Saleh Al-Obaid, Saleh Al-Hussayen, Sheik
Salman Al-Oadah, Sheik Hamad Al-Husaini, Safar Al-Hawali, Abdul Rahman Al Swailem,
Mohammed Ali Sayed Mushayt, Hamad Al-Hussaini, and Saudi Red Crescent) in this case.
Because these motions make virtually identical (in many instance, verbatim) arguments,
plaintiffs proposed to defendants’ counsel that plaintiffs submit one consolidated response (of
somewhat longer length than a single brief, but considerably shorter than the 275 pages allotted
by the local rules to these 11 briefs) and that defendants submit a single, consolidated reply
(again, of an adjusted length). Defendants refused and accordingly, plaintiffs now file a separate
response to each motion. Plaintiffs have attempted to avoid duplication and hereby incorporate
and cross-reference each of their responses into each of the others.


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D.C. Moreover, it worked. Al-Turki received notice of this action, retained counsel and has

appeared to defend himself. His argument that the notice approved by the Court was not

reasonably calculated to apprise him of the pendency of this action when in fact it did precisely

that rings hollow and should be rejected. The motion to dismiss should be denied in its entirety.

       Nor is Al-Turki entitled to sovereign immunity. His business transactions with Zouaydi

that financed al Qaeda’s cell were personal and unrelated to his official duties. Al-Turki’s

official positions do not shield him from responsibility for these personal actions.

                                           ARGUMENT

I.     THIS COURT HAS PERSONAL JURISDICTION OVER AL-TURKI BECAUSE HE
       PURPOSEFULLY DIRECTED HIS CONDUCT AT THE UNITED STATES
       Al-Turki contends that he is not subject to jurisdiction in this Court because he lacks

minimum contacts with the United States. Defendant is wrong: he is subject to jurisdiction

because, in supporting Osama bin Laden and al Qaeda in their terrorist war against America, Al-

Turki purposefully directed his conduct at the United States. No more is required to satisfy the

requirements of due process.2

       To defeat a Fed.R.Civ.P. 12(b)(2) motion to dismiss for lack of personal jurisdiction

made (like this one) before discovery, plaintiffs “need make only a prima facie showing by

[their] pleadings and affidavits that jurisdiction exists.” Cutco Industries, Inc. v. Naughton, 806

F.2d 361, 365 (2d Cir. 1986). To the contrary, the relevant statutory scheme anticipates and

allows for liberal amendments as to jurisdiction. See 28 U.S.C. § 1653. That is particularly true

2
     Al-Turki also claims that the District of Columbia long-arm statute does not authorize
jurisdiction here. But plaintiffs do not rely on the D.C. long-arm statute. Rather, they rely on
Fed.R.Civ.P. 4(k)(2) which authorizes jurisdiction over foreign defendants in the United States
for federal claims (including plaintiffs’ claims under the Anti-Terrorism Act, 18 U.S.C. § 2333)
where jurisdiction is not otherwise available, subject only to the due process limits of the
Constitution. In the context of Rule 4(k)(2), the relevant minimum contacts are with the United
States as a whole.


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where the factual predicates are complex and the parties numerous, as herein. Moreover, in

evaluating plaintiffs’ prima facie showing of jurisdiction, the Court must construe all pleadings

and affidavits in the light most favorable to plaintiffs and resolve all doubts in plaintiffs' favor.

PDK Labs v. Friedlander, 103 F.3d 1105, 1108 (2d Cir. 1997). In addition, the Court “must read

the Complaint liberally, drawing all inferences in favor of the pleader.” IUE AFL-CIO Pension

Fund v. Herrmann, 9 F.3d 1049, 1052 (2d Cir. 1993). Here, plaintiffs have satisfied their burden

to make a prima facie showing that jurisdiction exists.

       A.      A Defendant Who Purposefully Directs His Conduct at the United States Can
               Reasonably Expect to be Haled Into Court Here, Even if the Defendant Was
               Never Physically Present

       Al-Turki is subject to jurisdiction in this Court because he purposefully directed his

conduct at the United States. For a discussion of the legal standard applicable here, plaintiffs

respectfully refer the Court, and incorporate by reference, their memorandum of law in

opposition to the motion to dismiss filed by Hamad Al-Husaini, filed contemporaneously with

this memorandum.

       B.      The Complaint Adequately Alleges, and the Evidence Demonstrates, that, in
               Supporting Al Qaeda, Al-Turki Purposefully Directed His Conduct at the
               United States Because Al Qaeda Had Publicly Announced that the United
               States Was the Target of Its Terrorist Activities

       The Third Amended Complaint and the evidence submitted sufficiently make out a prima

facie case pleaded that, in supporting al Qaeda, Al-Turki purposefully directed his conduct at the

United States so as to subject him to jurisdiction in the Courts of the United States.

               1.      Al-Turki Provided Material Support to Al Qaeda

       The Complaint adequately alleges that Al-Turki provided material support to Osama bin

Laden and al Qaeda. As alleged in the Third Amended Complaint, Al-Turki was a shareholder

in a dummy corporation, Proyectos y Promociones (“Promociones”). Promociones purported to



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be a construction, but engaged in no actual construction; instead, it provided financing for al

Qaeda cells in Europe.     3AC ¶¶ 383-384.       Al-Turki also entered into a partnership with

Muhammed Galeb Kalaje Zouaydi with respect to certain business transactions in Spain. 3AC ¶

386. Zouaydi, who was arrested by Spanish authorities on April 23, 2002, is a brother-in-law of

Osama bin Laden. A top financier for al Qaeda, he also served as one of the original terrorists

who fought with Osama bin Laden and the other original founders of al Qaeda. 3AC ¶ 283.

Zouaydi used various Spanish businesses to launder money from Saudi Arabia through Spain to

al Qaeda cells in Germany, including the Hamburg Cell that carried out the September 11

attacks. Id. at ¶¶ 18-39, 374. It appears that the business transactions between Al-Turki and

Zouaydi were part of this money laundering scheme.

       Al-Turki denies that he and Zouaydi were partners in Zouaydi’s money laundering

ventures, but evidence that plaintiffs have obtained demonstrates that Al-Turki indeed went into

business with Zouaydi. A letter dated October 21, 1999, from Francisco G. Prol, apparently

representing Zouaydi, details the state of the negotiations between Al-Turk and Zouaydi for Al-

Turki’s purchase of shares in Promociones and participation in certain real estate transactions.

See Affirmation of Andrea Bierstein in opposition to motion of Abdullah Al-Turki (“Bierstein

Al-Turki Aff.), Exhibit 1. Although Al-Turki claims that the letter was unsolicited, the details

contained in it suggest that the letter was part of ongoing negotiations. Moreover, plaintiffs also

have obtained a copy of check from Promociones dated September 15, 1999 for $191,000,000

Spanish pesetas; the check is made out to “D. Abdula Abdul Muhsen Al Turky” and appears to

have been signed by Zouaydi and Bassam Dalati Satut on behalf of Promociones. See Bierstein

Al-Turki Aff., Ex. 2. Al-Turki denies having received this check, but the numbers stamped

along the bottom edge suggest that the check was in fact cashed. In any event, Al-Turki’s bare




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denials that these documents mean what they say are not credible. In 1999, when the letter was

written and the check made out, there was no conceivable reason for Mr. Zouaydi to attempt to

“frame” Al-Turki in this way.       At the very least, plaintiffs are entitled to take discovery

concerning Al-Turki’s dealings with Zouaydi to shed further light on these documents.

       Moreover, quite aside from Al-Turki’s private business dealings with Zouaydi, Al-Turki

is (and has been since 2000) the Secretary-General of the Muslim World League (“MWL”). As

described in testimony before the House Committee on Financial Services Subcommittee on

Oversight and Investigations in March, 2003, “As part of [its] mission over the past two decades,

MWL has. . . secretly provided critical financial and organizational assistance to Islamic

militants loyal to Al-Qaida and Usama Bin Laden.” Matthew Epstein with Evan F. Kohlmann,

“Arabian Gulf Financial Sponsorship of Al-Qaida via U.S.-Based Banks, Corporations and

Charities,” March 11, 2003, at 2, annexed as Exhibit 3 to the Bierstein Al-Turki Aff. According

to Epstein and Kohlmann, MWL is one of “three organizations [that] served a critical role in the

Arab-Afghan terrorist infrastructure by laundering money originating from bank accounts

belonging to Bin Laden and his sympathetic patrons in the Arabian Gulf, providing employment

and travel documents to Al- Qaida personnel worldwide, and helping “to move funds to areas

where Al-Qaeda was carrying out operations.” Id. at 1. Details of MWL’s role in financing bin

Laden are al Qaeda are provided in the Epstein and Kohlmann report.

       That Al-Turki headed up this organization, which was such a prominent source of

assistance to al Qaeda and bin Laden, demonstrates yet another avenue through which Al-Turki

provided material support to al Qaeda.

       In addition, the Complaint alleges, and the massive evidence that plaintiffs’ have

compiled demonstrates, that al Qaeda directed its terrorist activities against the United States and




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that bin Laden announced this, repeatedly and publicly throughout the mid- and late 1990’s, so

that individuals like Mr. Al-Turki who provided material support in that period plainly knew that

they were targeting the United States when they assisted al Qaeda with its terrorist agenda.

               2.     Al Qaeda Openly and Publicly Announced its Terrorist Agenda and
                      Targeted the United States

       It has been publicly known since the mid-1990s, if not well before, that Osama bin Laden

and his Al Qaeda terrorist network had launched an international campaign of terror directed at

the United States. For a complete discussion of the evidence demonstrating that supporters of al

Qaeda were purposefully directing their conduct at the United States because the United States

and its nationals were the primary avowed targets of al Qaeda, plaintiffs respectfully refer this

Court to their memorandum of law submitted in opposition to the motion to dismiss filed by

Hamad Al-Husaini, and to the Affirmation of Andrea Bierstein accompanying it, as well as to the

exhibits annexed to the affirmation, all of which are hereby incorporated.

II.    AL-TURKI WAS PROPERLY SERVED
       Al-Turki also contends that he was not properly served. (Al-Turki Memorandum at 22-

25.) Al-Turki makes the identical arguments about service by publication made by his co-

defendant, Shahir A. Batterjee. Plaintiffs have addressed each of those arguments in their

opposition brief to Shahir A. Batterjee’s motion to dismiss. Rather than repeat those arguments

here, plaintiffs instead respectfully refer the Court to, and incorporate by reference, that

discussion.

       As demonstrated in plaintiffs’ memorandum of law in opposition to Sahir Batterjee’s

motion to dismiss, service by publication on defendants in the Middle East, including Al-Turki,

was proper. On March 24, 2003, plaintiffs filed a motion for leave to serve by publication

Defendants located in Saudi Arabia, Sudan and United Arab Emirates. Burnett D.D.C. Docket



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No. 95, 3. (A copy of plaintiffs’ motion papers is Exhibit 4 to the Affirmation of Andrea

Bierstein submitted in opposition to the motion of Sahir Batterjee and hereby incorporation

herein.) In that motion plaintiffs asked for an extension of time to serve all originally named

defendants and, by implication, any defendants added subsequently that are either at large or in

the region of the Gulf States, and specifically in Saudi Arabia, Sudan and United Arab Emirates.

Additionally, plaintiffs asked for permission to serve by publication defendants that were listed

in the Exhibit A attached to the motion, which included Al-Turki. On March 25, 2003, the Court

granted the March 24, 2003 request to serve certain defendants by publication. Al-Turki was

served by publication in Al-Quds Al-Arabi on June 3, 11, 18 and 24, and July 12 and 14, 2003

and in the International Herald Tribune on May 23, 30, June 6, 13, 20, and 27, 2003.

Thereafter, Al-Turki appeared and filed this motion to dismiss. In short, plaintiffs served Al-

Turki in accordance with the Court’s March 25, 2003 order granting their March 24, 2003

request to serve certain defendants by publication and the notice successfully apprised him of

this lawsuit.

III.     THE FSIA DOES NOT PRECLUDE PLAINTIFF’ SUIT AGAINST AL-TURKI
         Al-Turki claims that he is entitled to sovereign immunity because he has held various

positions in the Saudi Arabian government. Plaintiffs do not dispute that Al-Turki has been an

official of the Saudi government and indeed (as Al-Turki points out), the Third Amended

Complaint makes frequent reference to Al-Turki’s various governmental positions. But the

Complaint does not allege that Al-Turki’s assistance to al Qaeda took place in Al-Turki’s official

capacity. Rather, while holding various religious and charitable offices, Al-Turki provided

financing to al Qaeda cells in Europe through private business dealings with Zouaydi and

through the dummy corporation, Promociones, which laundered money for al Qaeda. These




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financial transactions could not have been part of Al-Turki’s role as Minister of Islamic Affairs,

Endowments, Calla and Guidance nor of his participation in the Higher Council of Islamic

Affairs.

       Moreover, plaintiffs’s claims also arise from Al-Turki’s role as Secretary-General of

MWL, which Al-Turki himself describes as “an international Islamic non-governmental

organization.” Declaration of Abdullah bin Abdul Mohsen Al-Turki (Exhibit 1 to Al-Turki

Motion to Dismiss), ¶ 10. Al-Turki’s actions in this capacity also are personal, rather than

governmental.

       The law is quite clear that even government officials have no immunity for acts

undertaken in a personal or private capacity. See Jungquist v. Sheikh Sultan Bin Khalifa Al

Nahyan, 115 F.3d 1020, 1027 (D.C. Cir. 1997) (“Individuals acting in their official capacities are

considered agencies or instrumentalities of a foreign state; these same individuals, however, are

not entitled to immunity under the FSIA for acts that are not committed in an official capacity.”);

accord El-Fadl v. Central Bank of Jordan, 75 F.3d 668, 671 (D.C.Cir.1996). To the extent that

the Complaint alleges that Al-Turki provided financial support to al Qaeda through private

business transactions, the FSIA does not shield him from liability for those private acts.

       But even if Al-Turki’s acts were official, he would not be entitled to immunity because

this case falls within both the “commercial activity” and the “tortious act” exceptions to the

FSIA. A fundamental principle of the FSIA is that foreign sovereigns have no immunity when

they behave like private actors, rather than like governments. The FSIA codifies a “restrictive,

as opposed to absolute theory, of sovereign immunity in which 'immunity is confined to suits

involving the foreign sovereign's public acts, and does not extend to cases arising out of a foreign

state's strictly commercial acts.'” Sun v. Taiwan, 201 F.3d 1105, 1107 (9th Cir. 2000), quoting




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Verlinden B.V. v. Central Bank of Nigeria, 461 U.S. 480 (1983). See also Republic of Argentina

v. Weltover, 504 U.S. 607, 614 (1992) (“the restrictive theory of sovereign immunity would not

bar a suit based upon a foreign state's participation in the marketplace in the manner of a private

citizen or corporation”).

        Plaintiffs note that although they have “the burden of going forward with evidence

showing that . . . immunity should not be granted . . . the ultimate burden of persuasion remains

with the alleged foreign sovereign” to show that the claimed exception does not apply and that

immunity should be granted. Virtual Countries, Inc. v. Republic of South Africa, 300 F.3d 230,

241 (2d Cir. 2003). Al-Turki has not met that burden here.

        The FSIA carves out a “commercial activity” exception and provides:

        A foreign state shall not be immune from the jurisdiction of courts of the United
        States or of the States in any case . . . (2) in which the action is based upon a
        commercial activity carried on in the United States by the foreign state; or upon
        an act performed in the United States in connection with a commercial activity of
        the foreign state elsewhere; or upon an act outside the territory of the United
        States in connection with a commercial activity of the foreign state elsewhere and
        that act causes a direct effect in the United States.

28 U.S.C. § 1605(a) (emphasis added). Here, Al-Turki used various commercial enterprises

outside the United States to cause a direct effect in the United States: he used various business

contracts surreptitiously to provide financing to the Hamburg al Qaeda cell, whose members

carried out the September 11 attacks. In Weltover, the Supreme Court held that an “effect is

‘direct’ if it follows ‘as an immediate consequence of the defendant's activity.’” 504 U.S. at 618.

The effect need not “foreseeable.” Id.; Princz v. Federal Republic of Germany, 26 F.3d 1166,

1173 (D.C. Cir. 1994). Here, the September 11 attacks were a “direct effect” because the money

that Al-Turki’s companies provided to al Qaeda went to the Hamburg al Qaeda cell, to those who

actually carried out the September 11 attacks. It is difficult to imagine a more direct connection

that this.


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       Moreover, even if the “commercial activity” exception is not applicable, this case falls

within the “tortious act” exception. See 28 U.S.C. § 1605(a)(5). That exception provides that a

foreign official has no immunity for any case:

       in which money damages are sought against a foreign state for personal injury or
       death or damage to or loss of property, occurring in the United States and caused
       by the tortious act or omission of that foreign state or of any official or employee
       of that foreign state while acting within the scope of his office or employment . . .

28 U.S.C. § 1605(a)(5). Because plaintiffs’ claims arise from deaths and injuries incurred in the

September 11 terrorist attacks, they are seeking money damages for personal injury and/or death

in the United States based on tortious conduct. Their claims fall squarely within this exception.

       Echoing arguments made by co-defendants, Al-Turki contends that this exception does

not apply because he has not committed any tortious acts and, even if he did, those acts did not

cause plaintiffs’ injuries. Al-Turki is wrong: under common law principles of aiding and

abetting, Al-Turki may be charged with the murderous acts of the September 11 hijackers if he

knowing provided substantial assistance to them. See, e.g, Halberstam v. Welch, 705 F.2d 472,

477 (D.C.Cir. 1983). See also Robinson v. Government of Malaysia, 269 F.3d 133, 143 (2d Cir.

2001) (plaintiff required to meet the same standard to fall within the “tortious act” exception as

would be required to prevail on the merits). By entering into business ventures with Zouaydi for

the purpose of providing covert financing to the al Qaeda members in Europe who carried out the

September 11 attacks, Al-Turki knowingly and substantially assisted the hijackers – indeed,

without the financing provided by the al Qaeda network to the Hamburg cell, those attacks could

not have taken place.    Indeed, the causal connection between Al-Turki and the attacks of

September 11 is much tighter here than in those situations where defendants provided funding to

charities that were known conduits to al Qaeda (although, as set forth in Plaintiffs’ Consolidated

Memorandum Of Law in Opposition to Sultan Bin Abdulaziz Al-Saud’s Motion to Dismiss



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Certain Consolidated Complaints, to which plaintiffs respectfully refer the Court and which is

incorporated by reference herein, those acts satisfy the “tortious act” exception as well). Here,

the very purpose of Al-Turki’s business transactions with Zouaydi was to transfer money to the

al Qaeda cell that carried out the hijackings on September 11. In so doing, Al-Turki (and, to be

sure, Zouaydi) caused those hijackings as surely as if they had purchased Mohammed Atta’s

plane ticket directly.

        Even with respect to his official role on the Higher Council of Islamic Affairs, Al-Turki

cannot claim sovereign immunity because plaintiffs’ claims fall within the “tortious act”

exception. This is the same body that Sultan bin Abdulaziz Al-Saud chairs, see Declaration Of

Abdulaziz H. Al Fahad (Exhibit 2 to Al-Turki Motion to Dismiss). Al-Turki cannot claim

immunity for actions attributable to his role on this council for the same reasons that Sultan

cannot. Rather than repeat those arguments, plaintiffs respectfully refer to the Court to, and

incorporate by reference, the papers submitted by plaintiffs in opposition to Prince Sultan bin

Abdulaziz al-Saud’s Motion to Dismiss Certain Consolidated Complaints.

                                         CONCLUSION
        For the foregoing reasons, defendant’s motion to dismiss pursuant to Rule 12(b)(1),

12(b)(2) and 12(b)(5) should be denied in its entirety.




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Dated: New York, NY               Respectfully submitted,
       June 30, 2004

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